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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW MEXICO
                         ALBUQUERQUE DIVISION



 UNITED STATES OF AMERICA,          )       CASE NO: 1:18-CR-03475-WJ
                                    )
                   Plaintiff,       )              CRIMINAL
                                    )
      vs.                           )        Albuquerque, New Mexico
                                    )
 ROBERT DUNSWORTH,                  )        Tuesday, January 8, 2019
                                    )
                   Defendant.       )        (9:37 a.m. to 9:46 a.m.)


                    ARRAIGNMENT / DETENTION HEARING

                BEFORE THE HONORABLE KAREN B. MOLZEN,
                    UNITED STATES MAGISTRATE JUDGE

 APPEARANCES:

 For Plaintiff:               ROBERT DUNSWORTH, ESQ.
                              U.S. Attorney’s Office
                              District of New Mexico
                              P.O. Box 607
                              Albuquerque, NM 87103

 For Defendant:               IRMA RIVAS, ESQ.
                              Federal Public Defender's Office
                              111 Lomas Blvd. NW, Suite 501
                              Albuquerque, NM 87102

 U.S. Pretrial/Probation: C. Duarte

 Court Reporter:              LCR; RIO GRANDE

 Clerk:                         E. Romero

 Transcribed By:              Exceptional Reporting Services, Inc.
                              P.O. Box 18668
                              Corpus Christi, TX 78480-8668
                              361 949-2988


 Proceedings recorded by electronic sound recording;
 transcript produced by transcription service.
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 1     Albuquerque, New Mexico; Tuesday, January 8, 2019; 9:37 a.m.

 2                                (Call to Order)

 3               THE COURT:     For arraignment and detention hearing,

 4    United States of America versus Robert Dunsworth, and that's in

 5    18-cr-3475-WJ.

 6               MR. SPINDLE:     Joe Spindle on behalf of the United

 7    States.

 8               MS. RIVAS:     Good afternoon, your Honor.          Irma Rivas

 9    on behalf of Mr. Dunsworth who's present and in custody this

10    morning.

11               THE COURT:     All right.    And are we going to be

12    proceeding -- well, let's see -- on the arraignment, let me

13    just check.

14               Mr. Dunsworth, did you receive a copy of the

15    indictment?

16               THE DEFENDANT:     Yes, ma'am.

17               THE COURT:     Have you had a chance to review it?

18               THE DEFENDANT:     Yes.

19               THE COURT:     And you understand those allegations?

20               THE DEFENDANT:     Yes, your Honor.

21               THE COURT:     And the charge against you?

22               THE DEFENDANT:     Yes, ma'am.

23               THE COURT:     And have you also discussed with

24    Ms. Rivas, the maximum penalties that you face?

25               THE DEFENDANT:     Yes, I have.
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 1               THE COURT:     And I believe there was a possibility

 2    that he could be considered an armed-career criminal.          And

 3    yesterday Mr. Spindle did advise him of those penalties as

 4    well.

 5               Do you recall that, Mr. Dunsworth?

 6               THE DEFENDANT:     No.

 7               THE COURT:     Okay.   Mr. Spindle, would you again

 8    review those possible penalties?

 9               MR. SPINDLE:     Yes, your Honor.     If it's determined

10    that the defendant is an armed-career criminal, the maximum

11    penalties could be up to life in prison with a minimum of 15

12    years in prison and up to five years of supervised release; a

13    $250,00 fine, as well as a hundred dollar special penalty

14    assessment.

15               THE COURT:     Do you understand that, Mr. Dunsworth?

16               THE DEFENDANT:     I don't understand it.

17               THE COURT:     All right.    Under certain circumstances

18    with a criminal history that's significant, you might qualify

19    as an armed-career criminal.        If that's the case, the penalty

20    goes up significantly.      If, on the charge of felon in

21    possession of a firearm and ammunition --

22               THE DEFENDANT:     But I'm not even a criminal, much

23    less a career criminal.

24               THE COURT:     All right.    I'm going to let you talk to

25    Ms. Rivas because she's here to advise you.
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 1               THE DEFENDANT:     Okay.

 2               THE COURT:    And I want to make sure you don't say

 3    something that could hurt you later.

 4               THE DEFENDANT:     Okay.

 5               THE COURT:    All right.     Ms. Rivas, do you feel

 6    confident that Mr. Dunsworth understands the maximum penalties?

 7               MS. RIVAS:    Yes, your Honor.

 8               THE COURT:    All right.     And are you satisfied with

 9    Ms. Rivas' advice and representation?

10               THE DEFENDANT:     Yes.

11               THE COURT:    Willing to waive a formal reading of the

12    indictment?

13               MS. RIVAS:    Yes, your Honor.      We'd ask the court to

14    enter a guilty plea on his behalf.

15               THE COURT:    All right.     A not guilty plea will be

16    entered on behalf of Mr. Dunsworth on a single-count

17    indictment.

18               Counsel, I'll enter the standing discovery order

19    electronically.     Your motions are due January 28th and you'll

20    be notified by Chief Judge Johnson's chambers of a trial date.

21               With regard to the issue of detention, the Pretrial

22    Services has recommended that he remain in custody.

23               Anything you'd like to say, Ms. Rivas?

24               MS. RIVAS:    Yes, your Honor.

25               Your Honor, first I'd like to ask the court to
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 1    consider -- I'd ask the court to consider his release to the La

 2    Posada Halfway House.      One of the big reasons that I ask that

 3    is that Mr. Dunsworth, while in the custody of the Metropolitan

 4    Detention Center, had been receiving methadone treatment.

 5                THE COURT:   Right.

 6                MS. RIVAS:   And so he's suffering -- even this

 7    morning, he's beginning to suffer the symptoms of withdrawal of

 8    that.    He's been on the methadone program now for over three

 9    months, so I think that that would assure that he would stay

10    clean.

11                He's -- he was about to begin a counseling program.

12    And given that the court may be concerned about him not having

13    a stable place to live, I think that the halfway house would

14    assure that stability for him.       But mainly our main issue and

15    concern for him and his health is he is suffering from

16    methadone withdrawal.      He's gone through it before.        I asked

17    him before what had happened.       He said that the last time it

18    took him about a month to get that out of his system.           He's

19    beginning to have the beginning stages now.          He feels body

20    aches.   And I asked him, I said, compared to a flu?           He said

21    it's much worse right now as he's standing before the court.

22    He's got watery eyes, a runny nose and he says he feels cold

23    and hot simultaneously.

24                We'd ask that the court also consider that his

25    violent crimes are from 2000 so that's (glitch in audio) and
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 1    that since that time he hasn't had any violent crimes.         So for

 2    those reasons, your Honor, we ask that the court consider

 3    allowing his release to the halfway house.         It gives him a safe

 4    place to live.    It helps him with his health so that he can

 5    hopefully begin a methadone program right away and he can begin

 6    with counseling.

 7               THE COURT:    I'm not sure if the La Posada -- does it

 8    allow individuals to be on the methadone program?

 9               PROBATION:    They do, your Honor.

10               THE COURT:    Okay.

11               PROBATION:    He will -- he wouldn't be able to go

12    right away, though.     It would -- they have their own process

13    when someone enters the facility but once he has a valid

14    prescription and he has to go to the clinic, he would be able

15    to do that.

16               THE COURT:    All right.

17               MS. RIVAS:    May I --

18               THE COURT:    Yeah.

19               MS. RIVAS:    I apologize.     One more thing that I

20    forgot to mention.

21               Looking at the criminal complaint in state court, the

22    gun in this case was obtained without a warrant so we don't

23    know yet now but considering the weight of the evidence, there

24    may be a motion to suppress here.        I don't know yet but.

25               THE COURT:    All right.     Mr. Spindle?
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 1               MR. SPINDLE:     Your Honor, the United States concurs

 2    with Probation that there are no combination of conditions or

 3    conditions that would ensure community safety as well as

 4    Defendant's appearance in court.        Under 3142 factors, Defendant

 5    is both a flight risk and he is a community safety risk.           Under

 6    the nature and circumstances, Defendant had two incidents in

 7    this set of facts within a week of each other in which he

 8    possessed two different guns.       During the first incident he

 9    confessed to law enforcement that it was his firearm, and he

10    used his brother's identification in the entire first time to

11    where he tried to throw off apprehension and prosecution.          It

12    wasn't until later they determined that his deceased brother's

13    identity was what he was using.       And then he was released on

14    that State warrant and within a week he was back out on the

15    streets possessing another firearm.

16               Furthermore, regarding the flight risk, the defendant

17    resides in a mobile home, according to the facts in this case.

18    And he told Probation that he moves often.         So he lives a

19    pseudo transient lifestyle.

20               Under the defendant's criminal history, we do believe

21    he is an armed career criminal so he's facing significant

22    imprisonment there, 15 years up to life imprisonment, and it's

23    for three violent felonies that occurred throughout the '90s

24    and into the 2000s.     We have the res burglary, the armed

25    robbery in the 90s, as well as aggravated assault with a deadly
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 1    weapon in 2000.     That indicates that he has the incentive with

 2    this mandatory imprisonment to try to avoid apprehension or

 3    prosecution in this matter.

 4               Furthermore, as I'm sure the court's aware from

 5    reviewing his Pretrial Services' Report, he has just an

 6    abhorrent criminal history.       I reviewed it briefly and I saw at

 7    least 14 times when he had either probation violations or

 8    failures to appear.     Fourteen separate times a court gave him

 9    instructions to do something and he disregarded those to the

10    court in that situation.      That shows what a flight risk he is.

11               Regarding the strength of the evidence, admittedly

12    the defense is looking into a warrant issue, whether or not the

13    search and seizure was proper in this case.          It's the United

14    States' position, obviously, that it was but we do have an

15    admission from the defendant to law enforcement and we have law

16    enforcement locating and finding the firearm.          We're not

17    relying on civilian witnesses to establish this; we're relying

18    on professional witnesses.

19               But I think the thing that's the most concerning to

20    the United States is just the level of threat that the

21    defendant poses to the general public.         He has this incredibly

22    violent history.     He has this untreated addiction problem, and

23    he has these firearms that even after being arrested, he goes

24    back to possessing (indisc.).       It just shows that nothing that

25    the judicial system does is going to dissuade him from doing
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 1    what he thinks he's entitled to do.        I'm sympathetic with his

 2    addiction issues and with his current predicament regarding his

 3    illness but it's the job of the federal government to provide

 4    medication in this situation and obviously the United States

 5    would not object to any sort of instruction from the court

 6    regarding treatment of his current illness.

 7                THE COURT:    Yeah, I agree with both Pretrial Services

 8    and Mr. Spindle for all the reasons he's identified and those

 9    that are set forth in the Pretrial Services Report.            I find the

10    government has shown him to be a flight risk by a preponderance

11    of the evidence and a danger to the community by clear and

12    convincing evidence and that there are no combination of

13    conditions for his release that would adequately address those

14    concerns.

15                Mr. Dunsworth, you will remain in custody until the

16    time of your trial.      I, too, am sympathetic to his situation.

17    I'd just ask the marshals to make sure that the medical staff

18    are aware of your predicament.

19                THE DEFENDANT:    They're not giving me nothing.

20                THE COURT:    That's the best I can do for you,

21    Mr. Dunsworth.

22                Anything else, Ms. Rivas?

23                THE DEFENDANT:    I'm not a flight risk.      I've been 20

24    years not one.    He's talking about old, old stuff.

25                THE COURT:    Well, you can talk to Ms. Rivas more
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                                                                      10


 1    about this.

 2                Anything else, Ms. Rivas?

 3                MS. RIVAS:    No, your Honor, thank you.

 4                THE COURT:    All right.    Thank you.

 5          (Proceeding adjourned at 9:46 a.m.)

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                              CERTIFICATION



 I certify that the foregoing is a correct transcript from the

 electronic sound recording of the proceedings in the above-

 entitled matter.




                                                      January 25, 2019

              Signed                                       Dated




                       TONI HUDSON, TRANSCRIBER




                  EXCEPTIONAL REPORTING SERVICES, INC
